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                    EXHIBIT D
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From: Tarola, Robert
Sent: Monday, November 08,2004 11:25 AM
To: 'blechman~blackstone.com'; Norrs, Paul J.; Siegel, David; 'zily~blackstone.com'
Cc: Sarkas, Bridget; Festa, Fred; Corcora, Wiliam
Subject: ~: Maher
I spoke with Tom this morning. He stated that he is wiling to compromise - BUT the committee reps only hold a
small tranch ofthe bank debt and the non-committee holders are posturing for a full default rate. l asked him to
work with us on a rate at about 4%. He wil get back to me tomorrow. Bob

      -----Original Mesage-----
       From: Tarola, Robert
      Sent: Friday, November 05, 200412:21 PM
      To: 'blechman(§blacksone.com'; Norris, Paul J.; Siegel, David; 'zilly(§blackstone.com'
      Cc: Sarikas, Bridget; Festa, Fred; Corcoran, Wiliam
      Subject: Maher

      Tom was out today. lien a detailed message. Expect a call on Monday. Bob




                                                                                                    DR00525
